       Case 1:20-cv-05669-JPC-RWL Document 16 Filed 10/19/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X              10/19/2020
                                                                       :
KIM BELLANFANTE,                                                       :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   20-CV-5669 (JPC) (RWL)
                  -v-                                                  :
                                                                       :        NOTICE OF
EQUIFAX INFORMATION SOLUTIONS, LLC and :                                      REASSIGNMENT
RAC ACCEPTANCE EAST, LLC, doing business as :
ACCEPTANCE NOW,                                                        :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment. Any conference or oral argument

before the Magistrate Judge will proceed as ordered.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
